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 1
                                   UNITED STATES DISTRICT COURT
 2
                                NORTHERN DISTRICT OF CALIFORNIA
 3
                                         SAN FRANCISCO DIVISION
 4

 5                                                              Case No. 3:21-md-02981-JD
     IN RE GOOGLE PLAY STORE
 6   ANTITRUST LITIGATION
                                                                PLAINTIFFS’ OPPOSITION TO
 7   THIS DOCUMENT RELATES TO:                                  DEFENDANTS’ MOTION FOR
                                                                PARTIAL SUMMARY JUDGMENT
 8   Epic Games, Inc. v. Google LLC et al., Case
     No. 3:20-cv-05671-JD
 9                                                              Judge: Hon. James Donato
     In re Google Play Consumer Antitrust
10   Litigation, Case No. 3:20-cv-05761-JD
11   State of Utah et al. v. Google LLC et al.,
     Case No. 3:21-cv-05227-JD
12
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13   al.,
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 1           Plaintiffs Epic Games, Match, Plaintiff States, and Consumer Plaintiffs hereby oppose

 2   Defendants’ Motion for Partial Summary Judgment. For the convenience of the Court, Plaintiffs file a

 3   single consolidated brief. However, Google’s Motion includes some arguments that are directed to only

 4   some Plaintiffs. Accordingly, while all Plaintiffs join the arguments in Sections I, III, V, and VI below

 5   that address common issues, only Epic and Match join Section II, and only the Plaintiff States and

 6   Consumer Plaintiffs join Section IV. Plaintiffs reserve and do not waive any rights, arguments, or issues

 7   pertaining to sections they have not joined.

 8                              INTRODUCTION AND STATEMENT OF ISSUES

 9           For nearly 15 years, Google has deployed a web of unlawful anticompetitive practices to
10   monopolize the markets for Android app distribution and in-app payment solutions. Through exclusivity

11   and preferred payment arrangements with OEMs, payments to wireless carriers to disincentivize them

12   from launching or supporting competing app stores, unnecessary technological barriers to the installation

13   of competing app stores, agreements not to compete with potential app-store entrants, exclusionary

14   contracts with developers, and more, Google has ensured that Google Play is the only viable way to

15   distribute apps on Android and, through its tie, it has forced consumers and developers to use Google

16   Play Billing (“GPB”) for all in-app sales and purchases of digital content in those apps. Plaintiffs will

17   prove all that at trial.

18           Google now attempts to prevent the jury from learning the full scope and history of its scheme

19   under the guise of a “targeted motion.” (Mot. 1.) As this Court has recognized, a complex antitrust case
20   seldom contains “a pure issue of law with no genuine dispute of fact.” (Dkt. 164 Tr. of Proceedings,

21   Dec. 16, 2021.1) This case is no exception. Google’s Motion rests on disputed facts and incorrect

22   statements of law. All five of its arguments for summary judgment fail:

23           First, Google incorrectly contends that Plaintiffs seek to impose on Google a duty to deal with

24   rivals. (Mot. 6-9.) This argument rests on a mischaracterization of Plaintiffs’ challenge to a provision

25   of Google’s Developer Distribution Agreement (“DDA”) that prohibits the distribution of app stores on

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          Unless noted otherwise, citations to “Dkt.” refer to the ECF number of documents filed on the MDL
27   docket, 3:21-md-02981-JD; citations to “Match Dkt.” refer to the ECF number of documents filed on
     3:22-cv-02746-JD; and citations to “Ex.” refer to exhibits from the Declaration of Michael J. Zaken filed
28   in conjunction with this brief.

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 1   Google Play. By twisting Plaintiffs’ complaints to focus on one provision of one contract—ignoring

 2   that provision’s role in Google’s broader web of anticompetitive conduct—Google urges the Court to

 3   ignore the forest for a tree. Google’s “focus on specific individual acts of an accused monopolist while
 4   refusing to consider their overall combined effect” must be rejected. City of Anaheim v. S. Cal. Edison
 5   Co., 955 F.2d 1373, 1376 (9th Cir. 1992). Rather than an isolated refusal to deal, the DDA is one
 6   agreement (among several) in furtherance of a monopoly, and thus violates Section 2 of the Sherman
 7   Act. And Google may not defeat Plaintiffs’ Section 1 claims by recasting a provision of a contract
 8   between Google and developers as a unilateral refusal to deal. As the Ninth Circuit recently confirmed
 9   with respect to a nearly identical agreement, Section 1 applies to all contracts that unreasonably restrain
10   trade, including contracts of adhesion like the DDA. Epic Games, Inc. v. Apple Inc., 2023 WL 3050076,
11   at *16 (9th Cir. Apr. 24, 2023) (“Epic v. Apple”).
12             Second, Google moves for summary judgment on Epic’s and Match’s 2 claims that Google’s
13   “Project Hug” agreements with three would-be competitors—Riot, Activision, and Supercell—were
14   agreements not to compete that are per se illegal. (Mot. 9-13.) But the law is clear: horizontal
15   agreements not to compete are per se illegal. Palmer v. BRG of Ga., Inc., 498 U.S. 46, 49 (1990). At
16   best, Google’s Motion raises disputed issues of fact regarding whether these Project Hug agreements are
17   vertical or horizontal. On summary judgment, that is not enough to foreclose per se treatment of these
18   agreements. Plaintiffs will prove at trial that these three competitors
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20                                     . The jury must decide whether the agreements at issue are mere vertical
21   distribution agreements or rather horizontal agreements not to compete.
22             Third, Google vaguely challenges as untimely “Plaintiffs’ [c]laims [r]elated to [e]arly-Android
23   [c]arrier [a]greements.” (Mot. 14-17.) Google’s Motion is an improper attempt to exclude evidence of
24   a core component of its ongoing anticompetitive scheme. No Plaintiff has brought claims for injunctive
25   relief or damages predicated on the carrier agreements alone. Rather, the carrier agreements were part
26   of Google’s years-long effort to acquire and maintain monopoly power, which continues today. Because
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            “Match” refers only to the four Match plaintiff entities. (See Dkt. 380.)

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 1   Google’s violation is continuing, Plaintiffs can recover for damages accrued within the limitations

 2   period, even if caused, in part, by pre-limitations-period conduct. See, e.g., Eichman v. Fotomat Corp.,

 3   880 F.2d 149, 160 (9th Cir. 1989) (“When a plaintiff alleges a continuing violation of the law, an overt
 4   act . . . restart[s] the statute of limitations.”).
 5           Fourth, Google asserts that the Consumer and State Plaintiffs lack antitrust standing to recover
 6   damages for in-app purchases (“IAPs”) and subscriptions because the in-app payment solution market
 7   they pleaded does not involve direct sales from Google to consumers. (Mot. 17-20.) This too is
 8   incorrect. Because the overcharged consumers pay Google directly for their purchases, those consumers
 9   have antitrust standing to seek damages under the Sherman and Clayton Acts. See Apple Inc. v. Pepper,
10   139 S. Ct. 1514, 1521 (2019). And because consumers’ injuries are “inextricably intertwined” with
11   Google’s anticompetitive conduct, they have standing under Blue Shield of Virginia v. McCready, 457
12   U.S. 465, 484 (1982) and its progeny.
13           Fifth, Google moves against Plaintiffs’ claims that Google illegally ties Google Play—an app
14   store that makes other apps available for download—to GPB, a payment solution for digital goods within
15   apps. (Mot. 20-24.) Google argues that Google Play and GPB are one product as a matter of law. But
16   that is a distinctively factual question for the jury, and ample evidence shows that the opposite is true—
17   indeed, in Epic v. Apple, the Ninth Circuit concluded that Apple’s app store and in-app payment solution
18   are separate products. 2023 WL 3050076, at *27-30. Google’s argument that it does not “coerce[] or
19   force[]” (Mot. 23) all developers to use GPB likewise fails in light of the Ninth Circuit’s rejection of a
20   similar argument in Epic v. Apple and multiple disputes of material fact.
21           All of Google’s arguments lack merit, and the Court should deny Google’s Motion in its entirety.
22                                                 LEGAL STANDARD
23           A court may grant summary judgment only “if the movant shows that there is no genuine dispute
24   as to any material fact and the movant is entitled to judgment as a matter of law.” Fed. R. Civ. P. 56(a);
25   see Celotex Corp. v. Catrett, 477 U.S. 317, 323 (1986). In making that assessment, “[t]he evidence of
26   the non-movant is to be believed” and “all justifiable inferences are to be drawn in [its] favor.” Anderson
27   v. Liberty Lobby, 477 U.S. 242, 255 (1986). “These general standards for the granting of summary
28   judgment become even more strict in the antitrust context.” Calnetics Corp. v. Volkswagen of Am., Inc.,

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 1   532 F.2d 674, 683 (9th Cir. 1976). “[T]rials are the best way to resolve legal disputes.” FTC v. D-Link

 2   Sys., Inc., 2018 WL 6040192, at *1 (N.D. Cal. Nov. 5, 2018).
 3                                                       ARGUMENT
 4          I.       Google Is Not Entitled to Summary Judgment that § 4.5 of the DDA Is Lawful
 5          Google first attacks a claim that Plaintiffs have not made. According to Google, Plaintiffs claim
 6   that “Google’s policy of refusing to distribute other app stores through the Google Play store is
 7   anticompetitive and violates Section 1 and 2 of the Sherman Act.” (Mot. 7.) In fact, Plaintiffs’ Section 2
 8   claims more broadly target the wide array of efforts that Google has undertaken to impede competing
 9   app stores from being distributed on Android devices. Excluding those app stores from Google Play is
10   just one element of Google’s anticompetitive scheme. And neither Plaintiffs’ Section 1 nor Section 2
11   claims attack a unilateral Google “policy”; the DDA is a contract by which developers are forced to
12   forgo competition with Google.
13                   A.       Plaintiffs’ Section 2 Claims Are Not “Refusal-to-Deal” Claims
14          Google asserts that its decision not to “distribute its rivals’ app stores” cannot give rise to
15   Section 2 liability because Google “ha[s] no obligation under the antitrust laws to ‘share its network with
16   competitors.’” (Mot. 7.) Google attempts to isolate a single act—the prohibition on “distribut[ing] other
17   app stores through the Google Play store”—from the complex and large web of anticompetitive practices
18   that Google has implemented to foreclose competition and maintain Google’s monopoly power.
19   (Mot. 6-7.) Google’s “focus on specific individual acts of an accused monopolist while refusing to
20   consider their overall combined effect” is “not . . . proper.” City of Anaheim, 955 F.2d at 1376; see Klein
21   v. Meta Platforms, Inc., 2022 WL 17477101, at *2 (N.D. Cal. Dec. 6, 2022) (denying motion to dismiss
22   plaintiffs’ Section 2 claim where defendant’s denial of access to software was part of the alleged
23   anticompetitive course of conduct).
24          Plaintiffs have alleged, and will prove at trial, that Google effectively foreclosed all meaningful
25   avenues by which competing app stores can reach Android devices—preinstallation by OEMs,
26   downloading via Google Play, or direct downloading from the web. For example, Google:
27   •
28                                                                                                            (Ex. 1

                                                                  4
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 1                        Tr. 119:15-20; Ex. 2 GOOG-PLAY-000128863.R at -8877.R);

 2   •                                                                                                               (Ex. 1
 3                        Tr. 249:3-252:9; Ex. 3 Gentzkow Tr. 192:23-193:16);
 4   •                                                                                                       (see, e.g.,
 5          Ex. 4 GOOG-PLAY-007035840 at -5840; Ex. 6 GOOG-PLAY-004146689.R at -6694.R
 6          to -6698.R; Ex. 3 Gentzkow Tr. 93:22-94:4; 95:1-14; 98:15-99:4; see also Ex. 8 Bernheim Rpt.
 7          ¶¶ 441-43); and
 8   •
 9                                       (see, e.g., Ex. 10               Tr. 54:12-55:10).
10          Complementing these exclusionary restrictions is Section 4.5 of the DDA, an agreement between
11   Google and developers that prohibits the distribution of competing stores through Google Play.
12   Specifically, it provides that developers “may not use Google Play to distribute or make available any
13   Product that has a purpose that facilitates the distribution of software applications and games for use on
14   Android devices outside of Google Play.” (Ex. 51 DDA Section 4.5.) Google engineer
15   explained that the “
16

17                          .” (Ex. 11 GOOG-PLAY-004283892 at -3892.)
18          Plaintiffs do not assert liability against Google for Section 4.5 of the DDA on its own; rather,
19   Plaintiffs challenge the thicket of restrictions Google employs to foreclose competing stores, which
20   includes Section 4.5. Plaintiffs seek to remove this web of restrictions so that competing stores—and
21   ultimately all Android developers—can choose not to deal with Play, such that Android can be the open
22   platform Google has always promised it would be.
23          Google’s web of anticompetitive conduct makes this case completely different from the refusal-
24   to-deal cases Google cites. In Trinko, for example, customers of Verizon’s rivals alleged that Verizon—
25   which was required by law to share its network with its competitors—had violated Section 2 solely on
26   the basis that it unilaterally delayed orders placed by its competitors’ customers. Verizon Commc’ns Inc.
27   v. Law Off. of Curtis V. Trinko, LLP, 540 U.S. 398, 402, 404 (2004). Here, by contrast, Google has
28   implemented a broad and multifaceted anticompetitive scheme to foreclose Android app distribution that

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 1   is not a mere refusal to deal; instead, it involves a wide variety of interlocking technological and

 2   contractual restrictions on OEMs, developers, and consumers. These restrictions, imposed across the

 3   Android ecosystem, are different in kind from the mere “insufficient assistance” in Trinko. See id.
 4   at 410. Google’s reliance on FTC v. Qualcomm likewise fails because there the Ninth Circuit examined
 5   (and reversed) a finding by the district court that independent of any other conduct, “Qualcomm’s refusal
 6   to license rival chipmakers violates . . . an antitrust duty to deal under § 2 of the Sherman Act.” 969
 7   F.3d 974, 987 (9th Cir. 2020). Plaintiffs do not claim such an independent duty to deal, but only that
 8   Google’s DDA provisions are actionable as part of its broader anticompetitive scheme.
 9                  B.       Plaintiffs’ Section 1 Claims Challenge Cognizable Concerted Action
10          Google argues that any effort by Plaintiffs “to evade Trinko by resorting to Section 1 of the
11   Sherman Act . . . would be unavailing . . . because Plaintiffs are ultimately challenging Google’s
12   unilateral policy and design decision.” (Mot. 7-8.) Not so. Plaintiffs challenge the DDA, which is a
13   contract. The fact that Google coerces developers to enter into the contract is irrelevant to Section 1,
14   which prohibits “[e]very contract . . . in restraint of trade,” whether coerced or not. 15 U.S.C. § 1.
15   Indeed, established Section 1 claims such as tying and exclusive dealing are almost always based on
16   contracts of adhesion. See, e.g., Aerotec Int’l, Inc. v. Honeywell Int’l, Inc., 836 F.3d 1171, 1180 (9th
17   Cir. 2016); Datagate, Inc. v. Hewlett-Packard Co., 60 F.3d 1421, 1427 (9th Cir. 1995). And the Ninth
18   Circuit has now rejected Google’s exact argument in Epic v. Apple, holding that the district court “erred
19   when it held that a non-negotiated contract of adhesion,” like the DDA, “falls outside of the scope of
20   Section 1.” 2023 WL 3050076, at *16. That holding dooms Google’s Motion on this ground.
21          The only Ninth Circuit case Google cites, Toscano v. Professional Golfers Association, 258 F.3d
22   978 (9th Cir. 2001), does not support its position. There, a golfer who failed to qualify for the Senior
23   PGA Tour brought Section 1 claims against firms that sponsored individual golf tournaments on the
24   ground that they accepted PGA Tour terms that allegedly harmed competition among golfers. Id. at 981-
25   83. Importantly, in that decision, the court did not evaluate Toscano’s claims against the entity that, like
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 1   Google, imposed the rules at issue. Id. at 984. Indeed, Toscano’s Section 1 claims against that entity,

 2   the PGA Tour, were not dismissed. See 201 F. Supp. 2d 1106 (E.D. Cal. 2002).
 3          II.        Google Is Not Entitled to Summary Judgment on the Per Se Claims
 4          Epic and Match assert that Google entered agreements not to compete with developers Riot,
 5   Activision, and Supercell (the “Potential Entrants”) that are per se illegal under Section 1. Plaintiffs
 6   will show at trial that the Potential Entrants
 7

 8                                                     . Ample evidence supports this claim:
 9          Riot. In 2018, Riot “                                                                                       .” (Ex. 5
10       Tr. 285:4-9.) In response, Google “pulled all stops,” including giving Riot $10 million in marketing
11   funds “to get Riot to stop their inhouse ‘app store’ efforts.” (Ex. 47 GOOG-PLAY-007424789 at -4789.)
12   Google understood that, as a result, Riot “
13                      ” (Ex. 4 GOOG-PLAY-007035840 at -5840.) To date, Riot has not launched an Android
14   app store.
15          Activision. In 2019,                                                                                        . (Ex. 12
16         Tr. 199:2-6.) Activision
17                                      (Ex. 13 AB-GOOG-000492 at -0495), and
18                (Ex. 12          Tr. 46:8-47:24). Activision then informed Google that it was “
19

20                                            ” (Ex. 15 GOOG-PLAY4-002193650 at -3650.) Google understood
21   Activision’s threat, recognizing that “[i]f this deal falls through” Activision “will launch their own
22   mobile distribution platform.” (Ex. 46 GOOG-PLAY-007280918 at -0919.) In response, Google agreed
23   to provide Activision with $360 million in benefits in a written agreement that prohibited Activision
24   from removing its apps from Google Play and from making content available on another store that is not
25   also on Google Play. (Ex. 48 GOOG-PLAY-007847561 at -7561.) The agreement reflects Google’s
26   and Activision’s mutual understanding that Activision would not launch its own Android app store. To
27   date, Activision has not launched an Android app store.
28          Supercell. In 2019, Supercell

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 1

 2                            .” (Ex. 10               Tr. 177:21-178:5.) “
 3                                                                                              .” (Id. at 178:6-10.) As a
 4   result, Google                                                                                                  . (Id.
 5   at 179:5-7.) Among other things, Google
 6

 7

 8                                   . (Id. at 179:10-13, 181:24-182:6.) To date, Supercell has not launched an
 9   Android app store.
10          Under Section 1, agreements not to compete between actual or would-be competitors are “[o]ne
11   of the classic examples of a per se violation.” Palmer, 498 U.S. at 49; see also Optronic Techs. v. Ningbo
12   Sunny Elec. Co., 20 F.4th 466, 481 (9th Cir. 2021) (per se illegal agreement not to compete with an
13   entity with “technical capability to manufacture the same” product). Nonetheless, Google argues the
14   jury should not even be allowed to consider this evidence as proof of per se illegal agreements for three
15   reasons, none of which is sound.
16          First, Google argues that the relevant “agreements are vertical in nature” or at least “hybrid”
17   agreements with both horizontal and vertical elements because the Potential Entrants are also Google’s
18   customers. (Mot. 11.) Google then asserts that such “hybrid” agreements must be “evaluated under the
19   rule of reason.” (Mot. 11-12.) But agreements not to compete with potential competitors are illegal per
20   se, even when such agreements have vertical elements. Palmer, 498 U.S. at 47 (agreement between a
21   national bar review company and a regional competitor to make the regional entity a distributor of the
22   national company in exchange for payments and a commitment not to expand outside of Georgia deemed
23   per se illegal); see also Optronic, 20 F.4th at 479-81 (parties to a per se illegal agreement not to compete
24   shared a vertical supply relationship because the consideration for the agreement included
25   “‘prepayments’ . . . for unshipped telescopes”).            In those cases, it was irrelevant that the illegal
26   agreements involved parties in a vertical relationship (the license to goods and intellectual property in
27

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 1   Palmer and the sale of telescopes in Optronic)—agreements not to compete are “per se antitrust

 2   violations when engaged in by horizontal competitors.” Optronic, 20 F.4th at 476.3
 3          None of the cases Google relies on suggests otherwise. Those cases discuss concerted refusals
 4   to deal, not agreements not to compete. See Dimidowich v. Bell & Howell, 803 F.2d 1473, 1479-80 (9th
 5   Cir. 1986) (allegations that “both [defendants] refused to sell [plaintiff] the parts he sought and that they
 6   were aware of each other’s refusals”); Ron Tonkin Gran Turismo, Inc. v. Fiat Distribs., Inc., 637 F.2d
 7   1376, 1382 (9th Cir. 1981) (“‘group boycott’ rationale”); Frame-Wilson v. Amazon.com, Inc., 591
 8   F. Supp. 3d 975, 987 (W.D. Wash. 2022) (quoting Dimidowich). Unlike agreements not to compete,
 9   which are categorically per se illegal, “courts are reluctant to pigeonhole all concerted refusals to deal
10   as [per se illegal].” Dimidowich, 803 F.2d at 1480. Epic and Match do not allege concerted refusals to
11   deal. Rather, the evidence will show that each Potential Entrant
12                                                                                                 . (Ex. 13 AB-GOOG-
13   000492 at -0495; Ex. 5            Tr. 285:4-9.) Thus, the agreements with the Potential Entrants were
14   horizontal agreements not to compete subject to per se treatment. See Ninth Cir. Manual of Model Civil
15   Jury Instructions, § 14 (2017 ed.) (citing Am. Bar Ass’n, Model Jury Instructions in Civil Antitrust
16   Cases, ch. 2.C, instr. 3 (2016 ed.) (per se instruction appropriate where plaintiff proves “defendants
17   are . . . competitors or potential competitors” (emphasis added))).
18          Second, Google contends that Epic’s and Match’s interrogatory responses confirm that the rule
19   of reason applies because “[w]hen asked to identify all the terms of the alleged agreements not to launch
20   competing Android app stores, Epic and Match merely pointed to the written [Hug] contracts,” which
21   do not contain specific provisions that literally prohibit competing app stores. (Mot. 12.) Google is
22   wrong. To begin, there is no requirement to identify specific, written contract provisions that prevent
23   competition to maintain a per se claim for restraint of trade. See Esco Corp. v. United States, 340 F.2d
24

25      3
          Google’s cases acknowledge that an agreement between competitors is horizontal. Ohio v. Am.
     Express Co., 138 S. Ct. 2274, 2285 n.7 (2018) (“horizontal restraints involve agreements between
26   competitors not to compete in some way”); Aya Healthcare Servs., Inc. v. AMN Healthcare, Inc., 9 F.4th
     1102, 1108 (9th Cir. 2021) (“[a] horizontal restraint is an agreement among competitors on the way in
27   which they will compete with one another”); In re Musical Instruments & Equip. Antitrust Litig., 798
     F.3d 1186, 1191 (9th Cir. 2015) (“horizontal market division[s]” are per se illegal). None holds that the
28   per se rule cannot apply where one party to a horizontal restraint is also a customer of the other.

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 1   1000, 1007 (9th Cir. 1965) (“It is not necessary to find an express agreement, either oral or written, in

 2   order to find a conspiracy [to restrain trade].”); see also United States v. Lischewski, 2020 WL 1433272,

 3   at *3-4 (N.D. Cal. Mar. 24, 2020). Monopolists like Google have an interest in keeping their illegal,
 4   anticompetitive agreements secret; “[e]vidence of a conspiracy must ordinarily be based on inferences
 5   drawn from competent circumstantial evidence.” United States v. Bates, 429 F.2d 557, 558-59 (9th Cir.
 6   1970).
 7            Here, there is ample circumstantial evidence for a trier of fact to find the existence of a per se
 8   illegal contract, even absent a specific contractual provision. Epic’s response to Google’s Interrogatory
 9   No. 28 directs Google to both the written Hug agreements and “its Response to Interrogatory No. 30,”
10   which lists evidence outside of the contracts’ text that the Potential Entrants secured payments from
11   Google in exchange for agreements not to compete. (Dkt. 480-12 Epic’s R&Os to Google’s Fifth
12   Amended Interrogatories, Nos. 28, 30.) Match’s response similarly directs Google to the written Hug
13   agreements and the same additional evidence. (Dkt. 480-13 Match’s R&Os to Google’s Contention
14   Interrogatories, Nos. 24, 26.) Epic’s and Match’s responses point to a full suite of evidence Plaintiffs
15   have unearthed showing that Google entered into agreements not to compete.
16            Even if Epic and Match had limited their contentions to the written terms of the Project Hug
17   agreements themselves, summary judgment would still be inappropriate because the intended purpose
18   and inevitable consequence of those terms was to prevent the Potential Entrants from launching
19   competing Android app stores. Google attempts to sidestep this argument by inaccurately recasting
20   Epic’s and Match’s allegations. Google argues that showing an agreement has an actual anticompetitive
21   effect on the market is insufficient. But what Epic and Match will show based on Google’s internal
22   documents is that the “intended effect” of the agreements was to block competing app stores. (Mot. 12.)
23   A jury can infer from this intent that the agreement between Google and its would-be competitors was a
24   naked restraint on competition, not a restraint that is ancillary to a legitimate purpose. (Ex. 47 GOOG-
25   PLAY-007424789 at -4789.) Moreover, direct proof of anticompetitive intent is not even necessary. Cf.
26   Nat’l Collegiate Athletic Ass’n v. Bd. of Regents of Univ. of Oklahoma, 468 U.S. 85, 101 (1984) (“[G]ood
27   motives will not validate an otherwise anticompetitive practice[.]”). If two competitors form an
28   agreement with terms that inevitably result in one party not competing with the other, a jury can

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 1   reasonably conclude that the parties had the mutual intent to agree not to compete, which is per se illegal.

 2   Nat’l Soc’y of Pro. Engineers v. United States, 435 U.S. 679, 692 (1978) (certain agreements are per se
 3   illegal due to their “nature and necessary effect” on competition (emphasis added)). The record evidence
 4   is more than is required to prove a per se violation of the antitrust laws.
 5          Third, Google claims that the per se rule cannot apply because the relevant agreements “involve
 6   multi-faceted incentives from Google to its customers,” and there is “no tradition of courts condemning
 7   agreements in which a firm offers incentives to customers willing to make investments in the firm’s
 8   product.” (Mot. 13.) Again, Google is trying to prevent the jury from deciding a material issue of
 9   disputed fact: whether the agreements were an offer of “incentives to customers” as Google suggests or,
10   instead, agreements not to compete, as Plaintiffs intend to prove. That factual issue is crucial because
11   courts regularly condemn as per se illegal agreements in which a firm offers complex incentives to secure
12   an agreement not to compete, as Google has done here. See, e.g., Optronic, 20 F.4th at 479-81. Indeed,
13   Palmer involved customers who received non-monetary benefits (a license to IP and course materials)
14   in exchange for an agreement not to compete. 498 U.S. at 47.
15          Google argues that FTC v. Actavis, Inc., 570 U.S. 136 (2013), holds that any agreement backed
16   by “multi-faceted value exchanges” falls under the rule of reason. (Mot. 13.) Nothing in Actavis,
17   however, establishes such a rule regarding “multi-faceted” contracts. In fact, the Court there stated that
18   an agreement’s complexity must not “immunize the agreement from antitrust attack.” Id. at 147.
19   Moreover, “Actavis concerned the unique context of ‘reverse payment’ settlements—settlements of
20   patent infringement litigation that require ‘the claimed infringer not to produce the patented product until
21   the patent’s term expires’ in exchange for payment.” Snow v. Align Tech., Inc., 586 F. Supp. 3d 972,
22   982 (N.D. Cal. 2022). Google did not pay to settle litigation—it paid to shut down competition.
23          Finally, Google asserts that “[t]he Ninth Circuit has noted that per se treatment is particularly
24   unsuited to dynamic markets, ‘especially in technology markets.’” (Mot. 11.) The Supreme Court,
25   however, has already rejected Google’s argument. See Arizona v. Maricopa Cty. Med. Soc’y, 457 U.S.
26   332, 350-51 (1982) (“[T]he argument that the per se rule must be rejustified for every industry that has
27   not been subject to significant antitrust litigation ignores the rationale for per se rules.”). There is no
28   need to rejustify the per se rule for the type of agreements Google struck—basic market allocation

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 1   agreements that have been per se illegal since the 19th century. See Addyston Pipe & Steel Co. v. United

 2   States, 175 U.S. 211 (1899). Notably, Google’s sweeping statement is wholly unsupported by the cases
 3   it cites, which concern purely vertical restraints evaluated under the rule of reason, see Qualcomm, 969
 4   F.3d 974, Cont’l T.V., Inc. v. GTE Sylvania Inc., 433 U.S. 36, 59 (1977); or apply no substantive antitrust
 5   law, see Chamber of Com. v. City of Seattle, 890 F.3d 769, 787 (9th Cir. 2018). Accordingly, Google’s
 6   Motion seeking dismissal of the per se claims should be denied.4
 7          III.       Google Is Not Entitled to Summary Judgment on Timeliness Grounds
 8          Google argues that “any claim based on” its revenue sharing agreements (“RSAs”) with carriers
 9   is time-barred. (Mot. 14.) Google’s Motion should be denied for three independent reasons: (1) Google
10   improperly attempts to withhold from the jury important evidence of its unlawful scheme to acquire and
11   maintain monopoly power; (2) Google ignores its numerous overt acts in furtherance of its ongoing
12   scheme, which continues to this day; and (3) consumers and developers paid Google supracompetitive
13   prices within the limitations period and can recover for damages accrued within the limitations period,
14   even if caused, in part, by pre-limitations-period conduct.5
15          First, Google’s Motion fails to consider the carrier agreements in the context of Plaintiffs’ claims.
16   The carrier agreements are part of a larger, ongoing scheme to achieve and maintain Google’s market
17   power in the Android App Distribution Market in violation of Section 2.6 (Ex. 16 GOOG-PLAY4-
18   000339905 at -9905 (“
19                                                                ”); Ex. 56 Singer Rpt. at 24-26 (carrier and OEM
20   agreements “dissuaded (and in some cases prevented) them from developing, promoting, or offering
21   alternative App stores, including their own stores”).) Indeed, Google’s documents confirm that it “
22
        4
           This aspect of Google’s Motion is limited to whether a per se instruction may be sought after the
23   evidence comes in at trial. (Mot. 9-13.) Plaintiffs reserve the right to brief the appropriate standard if it
     is not per se.
24       5
           For the same reasons that Plaintiffs’ claims are timely under the Clayton Act, Google is not entitled
     to a laches defense, see Oliver v. SD-3D LLC, 751 F.3d 1081, 1086 (9th Cir. 2014), and Plaintiffs’ state-
25   law claims are timely, In re Animation Workers Antitrust Litig., 87 F. Supp. 3d 1195, 1208 (N.D. Cal.
     2015) (noting Cartwright Act statute of limitations is “functionally identical”).
26       6
           See Dkt. 172 2d Am. Consumer Compl. ¶ 218 (“Google’s contractual restrictions on OEMs, Mobile
     Network Carriers and developers further Google’s monopolization of the Android Application
27   Distribution Market”) Counts 1-11 (no carrier-specific claims); No. 3:21-cv-05227, Dkt. 188 1st Am.
     State Compl. Counts 1-8 (no carrier-specific claims); Dkt. 378 Epic’s 2d Am. Compl. Counts 1-13
28   (same); Dkt. 380 Match’s 1st Am. Compl. Counts 1-15 (same).

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 1                                                               .” (Ex. 43 GOOG-PLAY-000439987.R at -0012.R.)

 2   Google now seeks to conceal this evidence from the jury. Setting aside that Google’s request is a motion
 3   in limine masquerading as a motion for partial summary judgment, the jury is permitted to learn about
 4   the agreements that led to Google’s present monopoly, even assuming arguendo they “fall outside the
 5   statutory time period.” Nat’l R.R. Passenger Corp. v. Morgan, 536 U.S. 101, 103 (2002); see Areeda &
 6   Hovenkamp, Antitrust Law ¶ 320 (2022) (“[A plaintiff can] rely on pre-limitation conduct in order to
 7   establish the exclusionary practices portion of a monopolization claim.”). Google’s attempt to keep the
 8   jury from learning about the full history of its conduct should be rejected. See City of Anaheim, 955 F.2d
 9   at 1376.
10          Second, Google has committed numerous overt acts during the limitations period to obtain and
11   maintain monopoly power. “When a plaintiff alleges a continuing violation of the law, an overt act . . .
12   restart[s] the statute of limitations and the statute of limitations runs from the last overt act.” Eichman,
13   880 F.2d at 160. Plaintiffs’ claims are timely if any of those acts fell within the limitations period. See
14   Klein v. Facebook, Inc., 580 F. Supp. 3d 743, 795-97 (N.D. Cal. 2022) (analyzing five separate overt
15   acts in determining whether Section 2 claims were timely). Google has committed overt anticompetitive
16   acts within the limitations period and continues to commit them through today. (See, e.g., Ex. 1
17                Tr. 86:17-87:2 (                                                                 ); see also Ex. 53 Singer
18   Rpt. at 93-112 (identifying                            ,                        , and other anticompetitive actions
19   within the limitations period).) Thus, there is no basis to dismiss any of Plaintiffs’ claims on statute-of-
20   limitations grounds.
21          Third, Google’s ongoing supracompetitive commission—enabled in part by the carrier
22   agreements—is an additional overt acts that independently makes Plaintiffs’ carrier agreement claims
23   timely. The continued extraction of supracompetitive prices permits Plaintiffs to recover damages
24   incurred within the limitations period, even if caused, in part, by pre-limitations conduct. See, e.g.,
25   Zenith Radio Corp. v. Hazeltine Rsch., Inc., 401 U.S. 321 (1971). In Zenith, the issue before the Supreme
26   Court was whether the statute of limitations “permit[s] Zenith to recover all of the damages it suffered
27   during the years 1959-1963 even though some undetermined portion of those damages was the proximate
28   result of conduct occurring more than four years prior.” Id. at 333 (emphasis added). The Court held

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 1   that Zenith could recover because claims for damages “accrue only on the date they are suffered.” Id. at

 2   339; see Hanover Shoe, Inc. v. United Shoe Mach. Corp., 392 U.S. 481, 502 n.15 (1968) (“Although
 3   Hanover could have sued in 1912 for the injury then being inflicted, it was equally entitled to sue in
 4   1955.”); Klehr v. A.O. Smith Corp., 521 U.S. 179, 189 (1997) (“[E]ach overt act that is part of the
 5   violation and that injures the plaintiff, e.g., each sale to the plaintiff, starts the statutory period running
 6   again, regardless of the plaintiff’s knowledge of the illegality at much earlier times.” (citation omitted)).
 7           Plaintiffs will prove at trial that Google’s commission is supracompetitive because of Google’s
 8   anticompetitive conduct, including but not limited to the RSAs. (See, e.g., Ex. 53 Singer Rpt. at 87-93
 9   (analysis of carrier agreements), 128-60 (modeling but-for commission rates).) Every time Google
10   extracted its supracompetitive commission, Google committed an overt act in furtherance of a continuing
11   antitrust violation. “[E]ach time a defendant sells its price-fixed product, the sale constitutes a new overt
12   act causing injury to the purchaser and the statute of limitations runs from the date of that act.” SD-3C,
13   751 F.3d at 1086. “[A] purchaser suing a monopolist for overcharges paid within the previous four years
14   may satisfy the conduct prerequisite to recovery by pointing to anticompetitive actions taken before the
15   limitations period.” Berkey Photo, Inc. v. Eastman Kodak Co., 603 F.2d 263, 296 (2d Cir. 1979); see
16   also Mayor of Baltimore v. Actelion Pharms. Ltd., 995 F.3d 123, 131 (4th Cir. 2021) (“[E]ach time that
17   Actelion sold Tracleer at a supracompetitive price after its patent expired, it illegally exercised monopoly
18   power . . . thus committing an overt act that caused injury and violated the antitrust laws.”); Areeda &
19   Hovenkamp, Antitrust Law ¶ 320 (2022).7
20           The cases Google cites for the proposition that “it is irrelevant as a matter of law whether the
21   carrier revenue-sharing contracts had some effect that lingered into the limitations period” (Mot. 15)
22   concern a narrow exception to the usual rule that is inapplicable to this case. In those cases, ongoing
23   supracompetitive charges were found not to be individual overt acts because they were governed by
24   negotiated pre-limitations contracts signed by the plaintiff and defendant. Eichman, 880 F.2d at 160
25

26      7
          No plaintiff in this case seeks to use facts about the carrier agreements to recover damages prior to
     the four-year limitations period. (See Ex. 53 Singer Rpt. at 203 (seeking Consumer and State damages
27   starting August 16, 2016, four years prior to first consumer complaint); Ex. 18 Schwartz Rpt. at 229-30
     (seeking Match damages starting July 7, 2017).) Moreover, Epic does not seek to recover any monetary
28   damages.

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 1   (defendant’s “passive receipt of profits” from pre-limitations lease agreement with plaintiff was not an

 2   overt act); US Airways, Inc. v. Sabre Holdings Corp., 938 F.3d 43, 69 (2d Cir. 2019) (“[W]e think of the

 3   performance of a contract as a manifestation of the ‘overt act,’ the decision to enter the contract, rather
 4   than an independent overt act of its own.”).8 In those cases, the terms of the contract set the overcharge,
 5   and therefore the only overt act was the signing of the contract. US Airways, 2022 WL 874945, at *6
 6   (S.D.N.Y. Mar. 24, 2022) (“A defendant does not commit an overt act restarting the statute of limitations
 7   each time a plaintiff pays a defendant a supracompetitive price pursuant to an anticompetitive contract
 8   to which they are a party.” (emphasis added)). Here, the payments at issue are not governed by
 9   performance of the RSAs’ terms, nor did any Plaintiff sign the RSAs. And, even in US Airways,
10   substantial evidence concerning the pre-limitations-period contracts was admitted at trial to prove
11   liability for the remaining timely claims. See 2017 WL 1064709, at *17 & n.11 (S.D.N.Y. Mar. 21,
12   2017) (evidence that defendant used market power “to impose the full-content contractual terms in the
13   2006 [time-barred] agreement, which further ingrained its market power”).
14          Finally, Arizona, the District of Columbia, Indiana, Iowa, Louisiana, Mississippi, North
15   Carolina, and Washington benefit from the doctrine of nullum tempus occurrit regi—a doctrine Google
16   ignores and that provides that limitations periods do not run against the State. See Rowan Cty. Bd. of
17   Educ. v. U.S. Gypsum Co., 418 S.E.2d 648, 652-58 (N.C. 1992); Fennelly v. A-1 Mach. & Tool Co., 728
18   N.W.2d 163, 168 (Iowa 2006); Solid Rock Ch., Disciples of Christ v. Friendship Pub. Charter Sch., Inc.,
19   925 A.2d 554, 559 (D.C. 2007); City of E. Chicago v. E. Chi. Second Century, 878 N.E.2d 358, 380 n.21
20   (Ind. Ct. App. 2007), rev’d on other grounds, 908 N.E.2d 611 (Ind. 2009); State v. LG Elecs., Inc., 375
21   P.3d 636, 641-44 (Wash. 2016); La. Const. Art. 12, § 13; Miss. Const. Art. 4, § 104; Miss. Code Ann.
22   15-1-51; Ariz. Rev. Stat. § 12-510; D.C. Code § 12–301; Wash. Code Civ. P. § 4.16.160. That rule
23   defeats Google’s argument that those Plaintiffs’ state-law claims are untimely. And because the early
24   RSAs are relevant to those state law claims, Google cannot keep that evidence from the jury.9
25
        8
          The other case Google cites, Re/Max Int’l v. Realty One, Inc., 173 F.3d 995 (6th Cir. 1999), concerns
26   a suit by a competitor, not a purchaser. Id. at 999-1001. “Although the business of a monopolist’s rival
     may be injured at the time the anticompetitive conduct occurs, a purchaser, by contrast, is not harmed
27   until the monopolist actually exercises its illicit power to extract an excessive price.” US Airways, 2022
     WL 874945, at *6 (quoting Eastman Kodak, 603 F.2d at 295).
28      9
          For Indiana, nullum tempus applies only to its state-law antitrust claims, not its consumer
     protection claims.
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 1          Google’s treatment of North Carolina law (Mot. 14 n.15) merits particular discussion. N.C.G.S.

 2   § 75-16.2 provides a four-year limitations period for “any civil action” under the state antitrust and

 3   consumer protection laws. The statute means the opposite of what Google contends. The “any civil
 4   action” language is not specific enough to bind the State because it does not explicitly name the State as
 5   subject to the time limit. See State Dept. of Health & Human Svcs. v. Thompkins, 695 S.E.2d 133, 135-
 6   37 (N.C. 2010) (citations omitted); see also id. (limitations period for “all claims” does not override
 7   nullum tempus). North Carolina’s state-law claims are not subject to a limitations period.
 8          Accordingly, Google’s Motion on this ground should be denied.
 9          IV.       Google Is Not Entitled to Summary Judgment on Standing
10          Over two years ago, Google moved to dismiss the Developer Plaintiffs’ overcharge damages
11   claims, including those relating to in-app content and subscription sales, on the theory that only
12   consumers had standing to pursue them. Google told the Court that the “Supreme Court’s reasoning in
13   Apple [Inc. v. Pepper] applies directly here, and bars Developer Plaintiffs’ damages claims . . . [because]
14   consumers pay Google directly and then Google remits payment back to developers.” (3:20-cv-05792-
15   JD, Dkt. 71-1 at 3 (“Google MTD”).) According to Google back then, “‘[t]he absence of an intermediary
16   is dispositive.’” (Google MTD at 3 (quoting Pepper).) Apparently not anymore. Google now contends
17   that consumers “lack standing to recover antitrust damages for purchases of subscriptions and [IAPs]”
18   because they do not “participate” in the market for in-app payment solutions, in which competition has
19   been restrained. (Mot. 17.) Of course, IAPs comprise the vast majority of the commerce at issue.
20   (Ex. 52 Rysman Rpt. ¶ 53 (
21             ).)
22          Google is wrong. Consumers who pay overcharges have antitrust standing because they pay
23   Google directly for products that are priced above competitive levels due to Google’s antitrust violations.
24   Because no “intermediary” stands between them and Google, consumers have antitrust standing.
25   Google’s authority simply confirms this fact. And, in any event, consumers’ injuries are “inextricably
26   intertwined” with Google’s anticompetitive conduct—including the tie-in of GPB for IAPs—such that
27   they have standing under McCready and its progeny as well. Finally, federal rules cannot be used to bar
28   state-law claims in jurisdictions, including California, that have expressly expanded consumer standing.

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 1                  A.       Consumers Have Standing To Recover Damages for IAPs and Subscriptions

 2          Section 4 of the Clayton Act provides a broad right of action for redress of antitrust injuries:

 3   “any person who shall be injured in his business or property by reason of anything forbidden in antitrust
 4   laws may sue therefore.” 15 U.S.C. § 15(a). Congress enacted that provision specifically to “creat[e]
 5   an effective remedy for consumers who were forced to pay excessive prices by the giant trusts.”
 6   Associated Gen. Contractors of Cal., Inc. v. Cal. State Council of Carpenters, 459 U.S. 519, 530 (1983)
 7   (emphasis added). Thus, where a plaintiff “alleges a wrongful deprivation of her money because the
 8   price of the [product] she bought was artificially inflated by reason of respondents’ anticompetitive
 9   conduct, she has alleged an injury in her ‘property’ under §4.” Reiter v. Sonotone Corp., 442 U.S. 330,
10   342 (1979). The Supreme Court has recognized one general exception: “when an antitrust violation
11   occurs in a multi-tiered distribution system,” the Illinois Brick rule bars the claims of a consumer who
12   buys from an innocent intermediary. Del. Valley Surgical Supply Inc. v. Johnson & Johnson, 523 F.3d
13   1116, 1122 (9th Cir. 2008).
14          In Pepper, the Supreme Court analyzed whether consumers such as those here have standing to
15   bring claims for purchases they made through an app store like the Play Store. 139 S. Ct. at 1518-19.
16   There, Apple argued that Illinois Brick barred consumers’ claims because app developers set app prices.
17   Id. at 1519. The Supreme Court rejected this argument, holding that “iPhone owners pay the alleged
18   overcharge directly to Apple. The absence of an intermediary is dispositive.” Id. at 1521. Indeed, the
19   Court held that both consumers and developers could pursue damages against Apple: “[t]he consumers
20   seek damages based on the difference between the price they paid and the competitive price. The app
21   developers would seek lost profits that they could have earned in a competitive retail market. Illinois
22   Brick does not bar either category of suit.” Id. at 1525.
23          Here, as in Pepper, consumers have standing to recover damages for IAPs and subscription
24   purchases—just as Google acknowledged two years ago. Consumers
25                                                                    . (Ex. 20           Tr. 100:1-24 (
26                                  ); Ex. 21 Singer Tr. 48:24-49:13 (“
27

28                                                                                                             ”).) For both

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 1   types of transactions,

 2                                           . (Ex. 22 GOOG-PLAY3-000013195 (

 3             ).)10 And for both categories of transactions, consumers paid overcharges to Google because of
 4   its anticompetitive conduct.
 5             Google tries to distinguish Pepper on the basis that the Court described Apple as a “monopolistic
 6   retailer,” arguing that “Plaintiffs here do not allege any market in which Google is a retailer to consumers
 7   of IAPs or subscriptions.” (Mot. 20.) But Google overlooks the “dispositive” fact: “the absence of an
 8   intermediary.” (Google MTD at 3 (quoting Pepper, 139 S. Ct. at 1521).) Nothing in Pepper turned on
 9   the allegation that Apple served as a “retailer.” What matters under Pepper is, as Google said two years
10   ago, that “consumers pay Google directly and then Google remits payment back to developers.” (Id.
11   (quoting Pepper, 139 S. Ct. at 1521).) This accords with longstanding precedent, such as Royal Printing
12   Co. v. Kimberly Clark Corp., 621 F.2d 323 (9th Cir. 1980), holding that if the violator transacts in
13   different markets, including markets not restrained by the violation, it can be held liable at every level.
14   Id. at 326 & n. 6; see also In re Linerboard Antitrust Litig., 305 F.3d 145, 152 (3d Cir. 2002); In re Sugar
15   Indus. Antitrust Litig., 579 F.2d 13, 16-17 (3d Cir. 1978); In re TFT-LCD (Flat Panel) Antitrust Litig.,
16   586 F. Supp. 2d 1109, 1117-18 (N.D. Cal. 2008).
17             Google’s contrary reading of Pepper relies entirely on Google’s insistence that antitrust standing
18   is limited to buyers or competitors in the relevant market where the defendant’s anticompetitive conduct
19   occurs, ignoring that consumers are market participants and pay Google directly for IAPs and
20   subscriptions, as discussed in Part B below. Yet this supposed requirement finds no support in the case
21   law; in fact, the very cases Google cites expressly reject it. For instance, Google purports to quote
22   American Ad Management in support of its argument that Plaintiffs can recover only for injuries in an
23   antitrust market in which they buy or sell. (Mot. 17.) But that is the opposite of what the Ninth Circuit
24   held. In American Ad Management, the Ninth Circuit rejected the notion that a plaintiff must be a
25   “competitor or consumer” in the relevant market to have standing, describing it as nothing more than a
26   “rough gloss on the Associated General/Bhan ‘market participant’ test.” Am. Ad Mgmt., Inc. v. Gen.
27

28      10
             These terms apply to all Google Payments without specifically referencing GPB by name.

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 1   Tel. Co. of Cal., 190 F.3d 1051, 1057-58 (9th Cir. 1999) (“[I]t is not the status as a consumer or

 2   competitor that confers antitrust standing, but the relationship between the defendant’s alleged unlawful
 3   conduct and the resulting harm to the plaintiff.”). Consequently, the Ninth Circuit held that a broker had
 4   standing to challenge a restraint that lowered the price of ads and, in turn, plaintiff’s commissions—even
 5   though the broker did not buy or sell ads. Id. at 1057.
 6          Google also points to Glen Holly Entertainment v. Tektronix for the proposition that
 7   “[c]onsumers in the market where trade is allegedly restrained are presumptively the proper plaintiffs to
 8   allege antitrust injury.” (Mot. 18 (quoting 343 F.3d 1000, 1008 (9th Cir. 2003)).) Yet that case held it
 9   was an error to “limit a purchaser/consumer’s actionable antitrust injury to situations where the
10   purchaser/consumer has made or intends to make purchases in the relevant market,” explaining that “this
11   understanding of antitrust injury is too restrictive.” Id. at 1010.
12          Notably, Google concedes that consumers can pursue damages arising from app purchases.
13

14             . (Ex. 23 Tucker Rpt. ¶¶ 373-83 (“
15                                                        ”).) This means that, by Google’s logic, consumers would
16   have antitrust standing to seek overcharge damages for IAPs and subscription purchases if Google were
17   correct about the relevant market in this case. This convoluted result is precisely why antitrust standing
18   does not turn on such distinctions: regardless of how the relevant market is defined, as “the immediate
19   buyers from the alleged antitrust violators . . . [consumers] may sue.” Pepper, 139 S. Ct. at 1521.
20                  B.       Consumers “Participate” in the Market for In-App Payment Solutions
21          Even if Pepper did not establish that Plaintiffs have standing as direct purchasers, the Supreme
22   Court has long recognized that even plaintiffs who make no purchases from a defendant have standing
23   where their injury is—as here—“inextricably intertwined” with the conduct at issue. In McCready, a
24   subscriber in an employee insurance plan challenged a scheme to restrict health insurance reimbursement
25   for psychologists. 457 U.S. at 467. The defendants argued that the subscriber was not a psychologist or
26   a buyer of health insurance, and therefore lacked antitrust standing. The Supreme Court disagreed.
27   Because the denial of reimbursement was “the very means” by which the conspiracy was carried out, the
28   subscriber’s injury was “a necessary step in effecting” the anticompetitive ends, and she had standing to

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 1   sue. As the Supreme Court explained, it was sufficient that the subscriber was “within that area of the

 2   economy endangered by th[e] breakdown of competitive conditions.” Id. at 479-80.

 3          Shortly after McCready, the Ninth Circuit held that plaintiffs may have antitrust standing where
 4   “it is clear that their interests would directly be served by enhanced competition in the market,” even if
 5   they “are neither consumers nor competitors in the relevant market.” Chelson v. Oregonian Pub. Co.,
 6   715 F.2d 1368, 1371 (9th Cir. 1983). The Ninth Circuit has applied this rule expansively. In Ostrofe v.
 7   H.S. Crocker Co., for example, the court held that a whistleblower discharged by a cartelist could
 8   essentially bring a wrongful termination claim under the Clayton Act. 740 F.2d 739, 745-46 (9th Cir.
 9   1984). And in L.A. Memorial Coliseum Commission v. NFL, the Ninth Circuit ruled that a football venue
10   could challenge an NFL rule affecting NFL members. 791 F.2d 1356, 1363 (9th Cir. 1984); see also
11   Ellis v. Salt River Project Agric. Improvement & Power Dist., 24 F.4th 1262, 1267, 1274-75 (9th Cir.
12   2022) (consumers’ injury “inextricably intertwined” with power company’s “unlawful scheme to reduce
13   solar-energy competition”); In re Tableware Antitrust Litig., 484 F. Supp. 2d 1059, 1066 (N.D. Cal.
14   2007) (consumers’ injury “inextricably intertwined” with boycott of retailer); Visa U.S.A. Inc. v. First
15   Data Corp., 2006 WL 1310448, at *9 (N.D. Cal. May 12, 2006) (merchant acquirer could pursue
16   damages caused by restraint of competition in the market for network processing).
17          In this case, the harm to consumers is “integral” to, and “inextricably intertwined” with, Google’s
18   unlawful conduct in the market for in-app payment solutions. McCready, 457 U.S. at 479, 484. Like
19   McCready, collecting payments via GPB is “a necessary step in effecting the ends” of Google’s
20   anticompetitive conduct, making plaintiffs’ injury “inextricably intertwined” with the violation. Id.
21   Consumers must pay overcharges, to Google, every time they make an IAP or buy a subscription, even
22   years after they download the relevant app from Google. Dr. Singer calculated “overcharges from the
23   consumers’ perspective” (Ex. 21 Singer Tr. 54:13-20), while Dr. Rysman’s variety model showed how
24   consumers would benefit in a world absent Google’s anticompetitive conduct through an increase in the
25   supply of apps (Ex. 41 Rysman Tr. 286:5, 291:15-20). There is little doubt that consumers in this case
26   would be “directly served by enhanced competition.”                  Chelson, 715 F.2d at 1371.             Consumers
27   accordingly have federal antitrust standing to seek damages in the in-app payment solution market.
28

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 1                    C.       Consumers Also Have Antitrust Standing in Repealer Jurisdictions

 2           Google asserts in passing that its arguments apply equally to the Cartwright Act. (Mot. 18.) But
 3   the cases Google cites predate the California Supreme Court’s decision in Aryeh v. Canon Business
 4   Solutions, 55 Cal.4th 1185, 1195 (2013). Since then, federal courts in this district regularly reject
 5   Google’s position. See In re Cal. Gasoline Spot Mkt. Antitrust Litig., 2022 WL 3215002, at *3 (N.D.
 6   Cal. Aug. 9, 2022); In re Capacitors Antitrust Litig., 106 F. Supp. 3d 1051, 1073 (N.D. Cal. 2015).
 7   Furthermore, applying Associated General Contractors to the Cartwright Act here would undo
 8   California’s express expansion of consumer remedies. Metro-Goldwyn-Mayer Studios Inc. v. Grokster,
 9   Ltd., 269 F. Supp. 2d 1213, 1224 (C.D. Cal. 2003) (“Under California law, an indirect purchaser
10   participates (indirectly) as a customer in the relevant market, and thus may suffer a cognizable antitrust
11   injury.”).11 And Google ignores the dozens of other laws of the 38 jurisdictions other than California
12   under which the States bring damages claims. Even if the Court accepted Google’s incorrect arguments
13   about federal and California law, Google has not even carried its burden as the moving party with respect
14   to these other jurisdictions. Accordingly, the Court should deny Google’s Motion on standing.
15           V.       Google Is Not Entitled to Summary Judgment on Plaintiffs’ Tying Claims
16           Google argues that it should be granted summary judgment on Plaintiffs’ tying claims because
17   “Google Play and GPB are not ‘two distinct products or services’” and Plaintiffs cannot show “that
18   Google Play and GPB are tied.” (Mot. 20-24.) Google fails to show that no reasonable juror could
19   disagree with its contentions, which require the resolution of disputed facts. In addition, the Ninth
20   Circuit’s decision in Epic v. Apple, among other precedent, forecloses Google’s arguments. Indeed,
21   Google relies on the district court’s findings in Epic v. Apple that the Ninth Circuit held were “either
22   clearly erroneous or incorrect as a matter of law.” 2023 WL 3050076, at *28.
23                    A.       Google Play and GPB Are Separate Products
24           Google contends that Google Play and GPB are not separate products. (Mot. 20-23.) The Ninth
25   Circuit expressly rejected a substantively identical contention in Epic v. Apple. There, the Ninth Circuit
26   held that Apple’s “App Store and [Apple’s payment solution] clearly can be separated because Apple
27
        11
           Metro-Goldwyn-Mayer is otherwise inapposite as it concerned the operator of a platform used to
28   distribute copyrighted works attempting to challenge a refusal to license copyrighted works to a
     licensor that used the platform. 269 F. Supp. 2d at 1217, 1220.
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 1   already does so in certain contexts, namely that [Apple’s payment solution] is not required for in-app

 2   purchases of physical goods.” 2023 WL 3050076, at *28 (emphasis in original).
 3            The same is true for Google—it has never required developers selling or consumers buying
 4   physical goods to use GPB, and indeed forbids its use for such transactions. (Ex. 25 Payments Policy.)
 5   It was only after this litigation was filed that Google began requiring developers selling digital content
 6   that may be “consumed outside the app itself” to use GPB, and accordingly, consumers were only then
 7   required to use GPB to purchase such content. (Ex. 26 GOOG-PLAY-000064254 at -4254 (Prior
 8   Payments Policy).) And prior to 2012, Google did not require any developer to use GPB. (Ex. 50
 9   Android Developers Blog, “In-App Billing on Android Market: Ready for Testing.”) See Epic v. Apple,
10   2023 WL 3050076, at *28 (discussing Apple’s historical practice of “permit[ing] developers to use their
11   own in-app payment systems”). In fact, Google did not offer in-app payment processing until years after
12   launching its app store. (Ex. 42 Android Developers Blog, “Android Market: Now available for users”;
13   Ex. 28 Android Developers Blog, “In-app Billing Launched on Android Market.”)
14            As in Epic v. Apple, the evidence here also shows there is substantial demand for non-GPB
15   payment systems. 2023 WL 3050076, at *28. Many developers now subject to Google’s tie historically
16   have used non-GPB systems (exclusively or alongside GPB), including Match,12
17           , Epic Games,                                                                               ). (Ex. 44 GOOG-
18   PLAY-000838161 at -8161; Ex. 29 GOOG-PLAY-007346079 at -6084, -6087 to -6088; see also Ex. 30
19           Tr. 173:23–174:10, 223:20–225:8, 306:25–307:4; Ex. 45 GOOG-PLAY-003334312 at -4314.)
20            Developers (including Match and                  ) have also expressly requested to use their own non-
21   GPB systems. (Ex. 49 GOOG-PLAY-011270137 at -0139 to -0140 (
22                                                   ); Ex. 31            Tr. 32:2-17 (
23                                        ); see also Ex. 10               Tr. 252:23-253:1.) Further, in 2022, Google
24   introduced the User Choice Billing program, which allows certain developers to offer non-GPB systems
25   alongside GPB and allows consumers to decide which payment solution to use—further showing there
26

27      12
          For example, Match.com and OurTime have offered non-GPB payment systems since the apps
     were first published on Google Play in 2010 and 2014, respectively. (Match Dkt. 12-2
28   Foster Decl. ¶¶ 32, 33, 36.)

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 1   is separate demand. (Ex. 32 “Enrolling in User Choice Billing Pilot.”)

 2          Google cites Rick-Mik Enterprises, Inc. v. Equilon Enterprises LLC, 532 F.3d 963 (9th Cir.

 3   2008), to argue that Google Play and GPB are not separate products “as a matter of law.” (Mot. 20-21.)
 4   To start, this is a question of fact. Image Tech. Serv., Inc. v. Eastman Kodak Co., 903 F.2d 612, 615-16
 5   (9th Cir. 1990) (“Kodak’s argument [that two products form a single product market] presents, at best,
 6   a disputed issue of fact.”), aff’d, 504 U.S. 451 (1992). Rick-Mik also is factually inapposite because,
 7   unlike here, it involved a franchise, which “almost by definition, necessarily consist[s] of ‘bundled’ and
 8   related products or services—not separate products.” 532 F.3d at 974.
 9          If anything, Rick-Mik supports Plaintiffs. It instructs courts to consider “‘indirect evidence of
10   consumer demand for the tied product separate from the tying product.’” 532 F.3d at 975. That “includes
11   firm behaviors,” including whether “‘competitive firms always bundle the tying and tied goods’
12   together.” Teradata Corp. v. SAP SE, 2018 WL 6528009, at *12 (N.D. Cal. Dec. 12, 2018) (quoting
13   Rick-Mik, 532 F.3d at 965). Here,
14                        . (See Ex. 33            Tr. 33:14-16; Ex. 34                       Tr. 215:5-216:4.) And in-
15   app billing service providers exist that do not distribute apps. (See Ex. 52 Rysman Rpt. ¶ 247 (discussing,
16   e.g., Square’s In-App Payments API).)
17          In sum, the evidence Plaintiffs offer now—at the summary judgment stage—is even stronger
18   than the evidence on which the Ninth Circuit relied to find separate products following a full bench trial
19   in Epic v. Apple. Summary judgment, therefore, is inappropriate.
20                  B.       Google Coerces Use of GPB
21          Google also argues there is no “tie” because Google does not “coerce or force” all developers
22   that use Google Play to use GPB; rather, “[m]any” apps are “available for free and do not monetize in-
23   app activity.” (Mot. 23.) Again, Google relies on a portion of the district court decision in Epic v. Apple
24   that the Ninth Circuit expressly rejected. Like Google, Apple argued “that there is no tie because
25   ‘thousands of developers . . . offer no [IAPs]’” and are therefore not required to use Apple’s payment
26   system. Epic v. Apple, 2023 WL 3050076, at *28 n.20. The Ninth Circuit easily disposed of this
27   argument in a footnote, explaining that Apple’s developer agreement “essentially provides: ‘Apple will
28   sell your app-distribution transactions only if you buy your in-app-purchase processing requirements

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 1   from Apple.’” Id. The same is true here: if a developer on Google Play (such as Match) offers digital

 2   goods for sale in the app, Google forces that developer to use GPB as the payment solution. (See Ex. 51
 3   DDA Section 4.1; Ex. 25 Payments Policy (Google webpage explaining that “[s]tarting June 1, 2022,
 4   any app that is still not compliant will be removed from Google Play”); Ex. 35 GOOG-PLAY-
 5   011378120 at -8122 (
 6                               ).) Moreover, Google does not claim there is a technological need for the tie.
 7          Regardless, whether Google coerces the use of GPB is a question of fact that should not be
 8   resolved at summary judgment. See Cascade Health Sols. v. PeaceHealth, 515 F.3d 883, 914 (9th Cir.
 9   2008) (reversing summary judgment on tying claim in part because of disputed fact issues regarding
10   coercion). For example, Google argues that “developers can pursue many monetization strategies
11   beyond the sale of [IAPs]” that do not require use of GPB. (Mot. 24.) But triable issues of fact exist as
12   to whether developers can avoid Google’s tie by implementing these monetization strategies without
13   facing unreasonable hurdles or costs. See Aerotec, 836 F.3d at 1179 (a tie exists “when a seller ‘adopts
14   a policy that makes it unreasonably difficult or costly to buy the tying product . . . without buying the
15   tied product.’”). Match, for example, has developed its business based on an IAP monetization strategy
16   that it implemented more than a decade ago and have invested significant resources, time, and money to
17   develop and maintain. (See, e.g., Match Dkt. 12-2 Foster Decl. ¶¶ 32, 33, 36.) Epic Games, too, relies
18   on an IAP monetization strategy for its mobile apps (Dkt. 378 Epic’s 2d Am. Compl.¶ 11(a); Dkt. 386
19   Defendants’ Answer to Epic’s 2d Am. Compl. ¶ 11; Epic v. Apple, 2023 WL 3050076, at *3), and it
20   would not want to degrade its users’ experiences by including advertisements within its apps.
21          Google’s arguments for summary judgment as to Plaintiffs’ tying claim fail under Ninth Circuit
22   precedent and ignore triable issues of material fact. This prong of Google’s Motion too should be denied.
23          VI.       Google’s Motion Should Be Denied Under Rule 56(d)
24          On May 9, 2023, nine days before this opposition brief was due, Google informed Plaintiffs for
25   the first time that “due to errors,” Google “will be producing additional documents in the coming weeks,”
26   and that “Google’s prior collections did not include certain documents in Google Drive, including
27   Microsoft Office and PDF files, as well as certain files located in shared/team drive folders.” (Ex. 37
28   May 9, 2023 Email from G. Pomerantz to Plaintiffs and May 10, 2023 Letter from G. Bornstein to

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 1   Google; see also Ex. 38 May 18, 2023 Letter from G. Bornstein to Google.) Google has since confirmed

 2   that to date, it has identified at least 160,000 custodial documents that hit on Plaintiffs’ search terms and
 3   that it had failed to collect and review, and that the final count will be higher—potentially significantly
 4   so. Google also confirmed that these errors affected every custodian’s collection because, among other
 5   “errors,” Google failed to collect documents from the custodians’ hard drives. Google has not yet
 6   produced any of these newly collected documents.
 7           Federal Rule of Civil Procedure 56(d) permits courts to deny a summary judgment motion if the
 8   non-moving party shows that “it cannot present facts essential to justify its opposition.” Fed. R. Civ.
 9   P. 56(d). “[S]ummary judgment is disfavored where relevant evidence remains to be discovered.”
10   Kauffman-Stachowiak v. Omni Hotels Mgmt. Corp., 2016 WL 4269504, at *7 (N.D. Cal. Aug. 15, 2016).
11   While Google’s Motion should be denied for the reasons explained above, it would be manifestly unfair
12   to Plaintiffs for the Court to enter judgment in favor of Google on any of Plaintiffs’ claims when Google
13   failed to produce these documents nearly two years after representing to the Court that it had “completed
14   substantial production of custodian documents” (Dkt. 56 at 3), in addition to the numerous Chats that
15   Google intentionally destroyed.13
16                                                    CONCLUSION
17           Google’s Motion for Partial Summary Judgment should be denied in its entirety.
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          Deferral of the motion would be an inadequate remedy. Plaintiffs intend to try this case in
28   November as the Court has ordered. The schedule should not be placed at risk due to Google’s late
     production of documents.
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                 PLAINTIFFS’ OPPOSITION TO DEFENDANTS’ MOTION FOR PARTIAL SUMMARY JUDGMENT
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        PLAINTIFFS’ OPPOSITION TO DEFENDANTS’ MOTION FOR PARTIAL SUMMARY JUDGMENT
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     Case 3:21-cv-05227-JD Document 398 Filed 05/19/23 Page 34 of 35



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        PLAINTIFFS’ OPPOSITION TO DEFENDANTS’ MOTION FOR PARTIAL SUMMARY JUDGMENT
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 1                                      E-FILING ATTESTATION
 2          I, Brendan Benedict, am the ECF User whose ID and password are being used to file this
 3   document. In compliance with Civil Local Rule 5-1(h)(3), I hereby attest that each of the
 4   signatories identified above has concurred in this filing.
 5
                                                    /s/ Brendan Benedict
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        PLAINTIFFS’ OPPOSITION TO DEFENDANTS’ MOTION TO EXCLUDE MERITS OPINIONS OF DR. RYSMAN
28                         Case Nos. 3:21-md-02981-JD; 3:20-cv-05761-JD; 3:21-cv-05227-JD
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